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       Bernard Gallo's Request for Exemption from Vaccine Mandate
       Charles Limandri <climandri@limandri.com>
       Redacted




               From: Charles Limandri <climandri@limandri.com>
               Date: September 16, 2021 at 11:37:15 AM PDT
               To: betsy.philpott@nationals.com, bob.frost@nationals.com
               Cc: bennygallo@hotmail.com, Paul Jonna <pjonna@limandri.com>
               Subject: FW: Bernard Gallo's Request for Exemption from Vaccine Mandate



               Ms. Philpott:

               I am writing in follow-up to my e-mail below to you of September 11, 2021, to which I have received
               no response. That e-mail was written in response to your request for additional information on
               September 9, 2021. I provided that information in the form of a detailed description of Mr. Gallo’s
               job duties, which are performed outdoors with little to no in-person interaction required with other
               employees and potential recruits, etc. I also provided a report from a board certified emergency
               room physician that it was medically contraindicated for Mr. Gallo to get the COVID vaccination.

               As you may know, under these circumstances, the Washington Nationals is required by Title VII to
               engage in an “interactive process” with the employee to discuss the provision of a reasonable
               accommodation for his request for a religious and/or medical exemption. Since the Washington
               Nationals has already accepted the fact that Mr. Gallo has a sincerely held religious belief against
               receiving the vaccination, it can only deny a religious or medical exemption if it can establish an
               “undue hardship” to the company. The Washington Nationals has not done so, and can not do so, in
               this case.

               We are also aware that Mr. Gallo did not receive his paycheck yesterday, which was the date he was
               notified his employment would be terminated. Because the Washington Nationals has withheld his
               pay and not responded to us before its self-set date of his termination of September 15, 2021, we
               must assume that its decision is final. For that reason, we have retained as co-counsel a local
               employment attorney in Washington, D.C. who is prepared to take the next steps to protect Mr.
               Gallo’s legal rights.

               We anticipate that those next steps will be taken early next week if we do not hear back from you
               within the next two days. In that event, we will take the lack of any further response from the

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               Washington Nationals, in violation of the requirements of Title VII, as a tacit admission that Mr.
               Gallo’s termination is for an unlawful discriminatory purpose. We still hope that litigation can be
               avoided, however, if we receive a favorable response from you within the next two days. We fully
               expect that, if litigation proves necessary, it will vindicate not only Mr. Gallo’s religious liberty
               interests, but also help set legal precedent that will prevent others from having their religious liberty
               rights violated in a similar unlawful manner.

               Sincerely,

               Charles S. LiMandri

               ********************************
               Charles S. LiMandri
               LIMANDRI & JONNA LLP
               P.O. Box 9120 | Rancho Santa Fe, CA 92067
               Tel: (858) 759-9930 | Fax: (858) 759-9938
               cslimandri@limandri.com | https://www.limandri.com/




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               From: Charles Limandri
               Sent: Saturday, September 11, 2021 11:59 PM
               To: betsy.philpott@nationals.com; bob.frost@nationals.com
               Cc: bennygallo@hotmail.com; scott@magiscenter.com
               Subject: Bernard Gallo's Request for Exemption from Vaccine Mandate

                      Ms. Philpott:
                      Thank you for your response below. We note that you stated the following: “In
                      connection with Mr. Gallo’s request for a religious exemption, the Nationals do
                      not dispute Mr. Gallo’s religious beliefs. As we have previously stated, we
                      recognize and respect Mr. Gallos’ religious beliefs but given the nature of his
                      position, the Nationals cannot accommodate Mr. Gallo’s religious beliefs without
                      posing an unacceptable risk to Nationals employees and individuals that Mr.
                      Gallo is required to interact with in connection with his job duties.“
                      Since the legitimacy of Mr. Gallo’s request for a religious exemption is not at
                      issue, the burden falls on the Washington Nationals to actually establish that it
                      would constitute an “undue hardship” for the company to reasonably
                      accommodate his request for a religious exemption. The Washington Nationals
                      has not even attempted to do so and can not do so in this case. According to
                      the U.S. EEOC: “To prove undue hardship, the employer will need to
                      demonstrate how much cost or disruption a proposed accommodation would
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                    involve. An employer cannot rely on potential or hypothetical hardship when
                    faced with a religious obligation that conflicts with scheduled work, but rather
                    should rely on objective information. A mere assumption that many more
                    people with the same religious practices as the individual being accommodated
                    may also seek accommodation is not evidence of undue hardship.”
                    (https://www.eeoc.gov/laws/guidance/questions-and-answers-religious-
                    discrimination-workplace).
                    Similarly, in the case of a medical exemption, the EEOC states as follows: “The
                    ADA expressly permits employers to establish qualification standards that will
                    exclude individuals who pose a direct threat -- i.e., a significant risk of
                    substantial harm -- to the health or safety of the individual or of others, if that
                    risk cannot be lowered to an acceptable level by reasonable accommodation.
                    However, an employer may not simply assume that a threat exists; the
                    employer must establish through objective, medically supportable methods that
                    there is genuine risk that substantial harm could occur in the workplace. By
                    requiring employers to make individualized judgments based on reliable
                    medical or other objective evidence rather than on generalizations, ignorance,
                    fear, patronizing attitudes, or stereotypes, the ADA recognizes the need to
                    balance the interests of people with disabilities against the legitimate interests
                    of employers in maintaining a safe workplace.“
                    (https://www.eeoc.gov/laws/guidance/ada-questions-and-answers).
                    As you may know, on September 9, 2021, President Biden ordered that private
                    employers, with over 100 employees, are to give those employees the option of
                    either being vaccinated or being subject to weekly COVID testing:
                    https://apnews.com/article/joe-biden-business-health-coronavirus-pandemic-
                    26bace6485d88ad1ae3ef2aea60fbb65. This action by the government will be
                    challenged in the courts and is expected to be found to be unconstitutional.
                    Nonetheless, the Washington Nationals has adopted a policy that goes even
                    further than the presumptively unconstitutional policy announced by the
                    Administration for private employers.
                    Notwithstanding the foregoing, Mr. Gallo has already offered to be tested
                    weekly and his very reasonable request for such an accommodation has been
                    inexplicably and unreasonably denied by the Washington Nationals. Given the
                    available reasonable accommodations that he seeks, this is clearly in violation
                    of what are admitted to be his sincerely held religious beliefs. To demonstrate
                    that he poses no significant risk to himself or others, one only need consider his
                    actual job duties. In his own words, Mr. Gallo has provided the following
                    description of those job duties:

                    “1. First and foremost, I go to games to find prospects. All the games played in
                    my area, as well as those games I’ve attended outside my given area, take
                    place outdoors. Occasionally I would move around to different areas of the park
                    to see different angles, following the guidelines set forth by the different
                    schools.

                    2. Once I identify the prospect, I will write one or possibly 2 reports on that
                    player. One is a follow report, which is done in the time prior to a player’s draft
                    eligibility, and the second report is done when I have decided to turn that player
                    in for the draft. Follows are not eligible until the draft report is done; once the
                    official report is submitted to the office, a draft ID is generated by MLB. Since
                    2020, all of these reports have been done alone in either my house or in my
                    hotel room alone. In 2020, many of my reports were reports written after seeing
                    players in person; From mid-March through to the June 2020 draft, the players
                    I hadn’t gotten to yet I reported from past videos, due to the shutdown.
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                    3. Part of my duties involve getting familiar with the players, for example
                    speaking to the players, getting to know the family if possible, getting
                    background on the players, medical history, grades in school, by talking to
                    coaches, agents, advisors, etc. Since 2020 a lot of this interaction was either
                    outdoors at the ball park or by phone, Zoom, or FaceTime.

                    4. Meetings: Our organization only held 3 draft meetings in person in the 9
                    years I’ve been with the team: Two in DC, one in West Palm Beach where the
                    Spring Training complex is located. The only other interaction with employees
                    would be if I had to pick up my supervisors from the airport or hotel in my car
                    when they came into my area. The only other time I was in DC was for the
                    World Series in 2019, and we were not allowed into the offices of Nationals
                    Park. We could only go from the hotel to the park, and then to our seats in the
                    upper deck. We did not meet as a group during those 3 days, in fact I did not
                    even see half of our scouting department during that time. No meals, no drinks,
                    no contact at all.

                    5. I worked the entire 2021 season, from the time the Nationals allowed us to
                    go and scout, January 15 to August 11, without issue, without a single problem
                    of any kind. I obeyed the individual school requirements pertaining to masking,
                    distancing, etc., where necessary. Some places were more lenient than others,
                    nevertheless I did whatever was asked without any complaints.

                    This sums it up. Of course, there’s the grading system and what we look for,
                    tools, physical and mental that go into the reports, but that’s it. I’m either
                    outdoors or alone in my house on the computer writing the reports.”
                    Since virtually all of Mr. Gallo’s work that involves potential contact with other
                    people can successfully be done, and has been done, outdoors or virtually, and
                    since he has agreed to be tested weekly, he certainly poses no “direct threat --
                    i.e., a significant risk of substantial harm -- to the health or safety of the
                    individual or of others”. What is more, however, is the fact that he has natural
                    immunity that provides even greater protection to himself and others than does
                    the available vaccines.
                    In that regard, and in further support of his request for exemptions based on
                    both his religious beliefs and his medical status, we are attaching the medical
                    report for Mr. Gallo of R. Scott French, M.D., FACEP. Dr. French is an
                    accomplished board certified emergency room physician who is currently
                    treating COVID patients. We are also attaching Dr. French’s impressive C.V. His
                    attached report establishes that not only is the vaccine medically unnecessary
                    for Mr. Gallo, but it poses a greater risk of harm to him than potential benefit.
                    For these reasons, we request that you reconsider the denial, and grant Mr.
                    Gallo a religious and/or medical exemption so that he can continue his
                    productive employment with the Washington Nationals after September 15,
                    2021. In the meantime, Ms. Philpott, thank you again for your professional
                    courtesy and cooperation in this matter and we look forward to hearing from
                    you soon.
                    Sincerely,
                    Charles S. LiMandri
                    ********************************
                    Charles S. LiMandri
                    LIMANDRI & JONNA LLP
                    P.O. Box 9120 | Rancho Santa Fe, CA 92067
                    Tel: (858) 759-9930 | Fax: (858) 759-9938

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                        From: Betsy Philpott <Betsy.Philpott@nationals.com>
                        Sent: Thursday, September 9, 2021 12:48 PM
                        To: Charles Limandri <climandri@limandri.com>
                        Cc: Bob Frost <Bob.Frost@nationals.com>
                        Subject: RE: Bernard Gallo's Request for Exemption from Vaccine Mandate

                        Mr. Limandri-

                        We have had a chance to review your email and the other documents that you
                        provided to us regarding Mr. Gallo’s requests for exemptions from the Nationals’
                        vaccine policy. In connection with Mr. Gallo’s request for a religious exemption, the
                        Nationals do not dispute Mr. Gallo’s religious beliefs. As we have previously stated, we
                        recognize and respect Mr. Gallos’ religious beliefs but given the nature of his position,
                        the Nationals cannot accommodate Mr. Gallo’s religious beliefs without posing an
                        unacceptable risk to Nationals employees and individuals that Mr. Gallo is required to
                        interact with in connection with his job duties.

                        As you noted below, Mr. Gallo had not previously raised a request for a medical
                        exemption. Based on our review of the information that has been provided to us, the
                        Nationals must decline to grant Mr. Gallo’s request for a medical exemption because
                        prior exposure to COVID-19 does not qualify as a disability under the Americans with
                        Disabilities Act. However, if Mr. Gallo can provide any of the following additional
                        information, then we will review it as part of the interactive process:


                   1.    The nature and severity of the specific disability that prevents him from being able to
                        safely receive a COVID-19 vaccine;

                   2.   The reason that this disability prevents him from receiving a COVID-19 vaccine; and

                   3.   Supporting medical documentation, if any.


                        Thank you,

                        Betsy Philpott
                        Vice President & General Counsel
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                    Washington Nationals

                    Nationals Park | 1500 South Capitol Street, SE | Washington, DC 20003
                    O: 202.640.7312 | Betsy.Philpott@nationals.com




                    From: Charles Limandri <climandri@limandri.com>
                    Sent: Monday, September 6, 2021 11:06 AM
                    To: Betsy Philpott <Betsy.Philpott@nationals.com>; Bob Frost
                    <Bob.Frost@nationals.com>
                    Subject: [EXTERNAL] Bernard Gallo's Request for Exemption from Vaccine Mandate


                    Dear Ms. Philpott and Mr. Frost:



                    Please be advised that the undersigned is the attorney for Bernard Gallo
                    in the matter concerning his threatened termination from the Washington
                    Nationals, effective on September 15, 2021. As you know, Mr. Gallo has
                    been informed by you that if he does not receive a mandatory
                    vaccination for COVID-19 by that date, his employment with the
                    Washington Nationals will be terminated. In that regard, the Washington
                    Nationals has informed him that his request for a religious exemption
                    pursuant to Title VII has been denied. It is our position that the
                    termination of Mr. Gallo would be unlawful because his request for a
                    religious exemption is required to be granted by Title VII. See 42 U.S.C.
                    Section 2000e, et. seq. Furthermore, Mr. Gallo should be entitled to
                    receive a medical exemption for the reasons set forth below.



                    As to the religious exemption, Mr. Gallo has previously informed you that
                    his religious beliefs as a devout Christian prohibit him from having any
                    vaccination. For that reason, he has also informed you that he has had
                    no vaccination for any purpose since he was a small child. In that regard
                    he is following the Holy Scripture which states: “Or do you not know that
                    your body is a temple of the Holy Spirit within you, whom you have from
                    God? You are not your own, for you were bought with a price. So glorify
                    God in your body.” As a devout Christian, Mr. Gallo is also extremely pro-
                    life, which means that he believes abortion is against the law of God.
                    This means that he further strenuously objects to injecting into his body a
                    vaccination that is any way connected with taking the life of another
                    human being through abortion. He has become aware that all of the
                    COVID-19 vaccines used cell lines originated from aborted children in
                    their manufacturing or testing.



                    As a Christian, Mr. Gallo believes that life begins at conception and ends
                    at natural death. The Scriptures reveal that God knows us even before
                    we are conceived. See Jeremiah 1:4 – 5 (“The word of the Lord came to
                    me, saying, ‘Before I formed you in the womb I knew you, before you

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                    were born I set you apart; I appointed you as a prophet to the nations.’”).
                    And God’s creative powers are effectively at work while we are yet in the
                    womb. See Psalm 139:13 – 16 (“For you created my inmost being; you
                    knit me together in my mother’s womb. I praise you because I am
                    fearfully and wonderfully made; your works are wonderful, I know that full
                    well. My frame was not hidden from you when I was made in the secret
                    place, when I was woven together in the depths of the earth. Your eyes
                    saw my unformed body; all the days ordained for me were written in your
                    book before one of them came to be.”).



                    The Christian Church has condemned abortion – the killing of human
                    infants while in the womb – from earliest times. The Didache, a conduct
                    code of the early Christian community, dated by some as being as early
                    as 70 AD, is in accord with Scripture, stating: “[D]o not abort a foetus or
                    kill a child that is born.” Loeb Edition of the Apostolic Fathers (also
                    translated as, “Thou shalt not murder a child by abortion nor kill that
                    which is begotten.”). A Plea for Christians, written around AD 177 by
                    Athenagoras, stated, “[W]e say that those women who use drugs to bring
                    on abortion commit murder, and will have to give an account to God for
                    the abortion.” Tertullian, in his Apologeticum, written in 197 AD, wrote:
                    “Murder being once for all forbidden, we [Christians] may not destroy
                    even the fetus in the womb, . . .”



                    Hence, upon learning that the vaccines were manufactured or tested
                    using abortive tissue from fetuses, it is Mr. Gallo’s sincerely held religious
                    belief that abortion is murder, a violation of one of the Ten
                    Commandments (“You shall not murder.” Exodus 20:13), and, for that
                    reason, it would violate his sincerely held religious beliefs to cooperate
                    with or be complicit in abortion in any way. The COVID-19 vaccines were
                    developed or tested using cell lines that were generated or derived from
                    tissues of aborted fetuses. J&J used an aborted fetal cell line in
                    manufacturing its COVID-19 vaccine, while Moderna and Pfizer used
                    aborted fetal cell lines in testing the efficacy of their vaccines. See James
                    Lawler, MD, You asked, we answered: Do the COVID-19 vaccines
                    contain aborted fetal cells”, Nebraska Medicine, August 4, 2021,
                    https://www.nebraskamed.com/COVID/you-asked-we- answered-do-the-
                    covid-19-vaccines-contain-aborted-fetal-cells.



                    So, it is Mr. Gallo’s sincerely held religious belief that, in being
                    vaccinated with any of the COVID-19 vaccines, he would be cooperating
                    with and complicit in abortion – the ending of an innocent human life –
                    and that such would constitute a sin against God and a violation of His
                    Commandments, for which he would be held morally accountable by
                    God. For that additional reason, he is requesting a religious
                    accommodation, under Title VII and any similar District of Columbia
                    law(s), that will excuse him from having to receive a COVID-19 vaccine,
                    and further request that no adverse employment action be taken against
                    him on account of his religious beliefs.

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                    Mr. Gallo is also entitled to a medical exemption because he has already
                    had COVID-19 and therefore has the protective antibodies in his system.
                    Attached is the Patient Report, dated August 31, 2021, of his testing for
                    the antibodies he has acquired, which make him immune to the
                    coronavirus. We understand that this is information that you did not have
                    at the time of the denial of his previous request for an exemption from
                    the vaccine. A comprehensive new study that recently came out from
                    Israel conclusively establishes that natural immunity is far more effective
                    than the vaccines in preventing infection. Here is an excerpt about the
                    study from a report by Science magazine: “The new analysis relies on
                    the database of Maccabi Healthcare Services, which enrolls about 2.5
                    million Israelis. The study, led by Tal Patalon and Sivan Gazit at KSM,
                    the system’s research and innovation arm, found in two analyses
                    that people who were vaccinated in January and February were, in
                    June, July, and the first half of August, six to 13 times more likely to
                    get infected than unvaccinated people who were previously
                    infected with the coronavirus. In one analysis, comparing more
                    than 32,000 people in the health system, the risk of developing
                    symptomatic COVID-19 was 27 times higher among the vaccinated, and
                    the risk of hospitalization eight times higher.”



                    Furthermore, here is an August 31, 2021 quote from R. Scott French,
                    M.D., FACEP, a board certified emergency room physician we have
                    consulted, and who currently treats COVID-19 patients: “Recent articles
                    demonstrate the clinical superiority of immunity for those who have
                    recovered from COVID-19 versus those who received vaccination. Thus,
                    there is no benefit with respect to vaccination for those who have
                    recovered from the COVID-19 infection. There is also unfortunately
                    increasing evidence that there is risk of potential harm for those who
                    have recovered from infection and then receive the vaccine.” What
                    follows is the list of the many articles that Dr. French provided in support
                    of his conclusion.



                    These numerous studies establish, scientifically and medically, that
                    natural immunity is superior to the vaccines:
                    https://rupress.org/jem/article/218/5/e20202617/211835/Highly-functional-
                    virus-specific-cellular-immune;
                    https://www.medrxiv.org/content/10.1101/2021.06.01.21258176v3;
                    https://www.nature.com/articles/s41467-021-24377-1?
                    utm_source=other&utm_medium=other&utm_content=null&utm_campaign=J
                    RCN_1_LW01_CN_natureOA_article_paid_XMOL;
                    https://www.biorxiv.org/content/10.1101/2021.07.29.454333v1;
                    https://www.biorxiv.org/content/10.1101/2021.03.22.436441v1;
                    https://www.thelancet.com/journals/eclinm/article/PIIS2589-5370(21)00141-
                    3/fulltext;
                    https://www.medrxiv.org/content/10.1101/2021.04.20.21255670v1;
                    https://www.medrxiv.org/content/10.1101/2021.05.11.21256578v1;
                    https://www.nature.com/articles/s41586-021-03647-4;
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                    https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3838993;
                    https://www.cell.com/cell-reports-medicine/fulltext/S2666-3791(21)00203-
                    2#%20;
                    https://www.biorxiv.org/content/10.1101/2021.07.14.452381v1;https://www.b
                    iorxiv.org/content/10.1101/2021.05.12.443888v1;
                    https://www.medrxiv.org/content/10.1101/2021.08.19.21262111v1;
                    https://www.ncbi.nlm.nih.gov/pmc/articles/PMC8209951/pdf/RMV-9999-
                    e2260.pdf; https://fee.org/articles/harvard-epidemiologist-says-the-case-for-
                    covid-vaccine-passports-was-just-demolished/.


                    In addition to the foregoing, it would be an egregious violation of Mr.
                    Gallo’s legal rights not to grant him a religious and/or medical exemption
                    under these circumstances especially since he has indicated that he is
                    willing to undergo testing every week for COVID-19, and wear a mask
                    and engage in social distancing when necessary. There is no legal basis
                    to deny him such reasonable accommodations as required by Title VII.
                    See 42 U.S.C. 2000e(j). Recent legal cases have upheld the rights of
                    people seeking religious and medical exemptions under similar
                    circumstances. For example, see this order concerning the recent ruling
                    by a federal judge in favor of college athletes in Michigan:
                    https://www.greatlakesjc.org/wp-content/uploads/Amended-Order-Granting-
                    TRO-WMU.pdf. Closer to home, a professor at George Mason University,
                    near Washington, D.C., was successful in challenging the university’s
                    vaccine mandate on the grounds that he already had COVID-19;
                    therefore he had natural immunity which rendered the vaccination to be
                    “medically unnecessary”: https://nclalegal.org/2021/08/george-mason-univ-
                    caves-to-nclas-lawsuit-over-vaccine-mandate-grants-prof-medical-exemption/.


                    Finally, if the misguided decision to terminate Mr. Gallo is not reversed, we will
                    commence litigation and seek our attorneys’ fees when we prevail. See,
                    Christianburg Garment Co. v. EEOC, 434 U.S. 412, 417 (1978) (holding that
                    under Title VII prevailing plaintiffs are entitled to reasonable attorneys’ fees).
                    In that regard, you might be interested in knowing that our firm was recently
                    awarded $800,000 in attorneys’ fees against the State of California and the
                    County of Los Angeles for violating our client’s religious liberty rights during
                    the pandemic: https://www.washingtontimes.com/news/2021/sep/1/california-
                    church-wins-800000-covid-19-lawsuit-aga/. That settlement followed our
                    prevailing on this issue before the United States Supreme Court earlier this
                    year in a case that succeeded in opening the churches in California for 40
                    million people: https://thomasmoresociety.org/client/south-bay-united-pentecostal-
                    church/. In that federal case, and a companion state case, we obtained
                    permanent injunctions against the State of California in both federal and state
                    courts, and we received a combined fee award of $2.15 million:
                    https://www.sandiegouniontribune.com/news/courts/story/2021-06-02/state-covid-19-
                    church-lawsuits.


                    Finally, please note that we have a national religious liberty law practice,
                    and that after attending Georgetown University Law Center, and working
                    for a law firm in downtown Washington, D.C., I became, and continue to
https://outlook.office.com/mail/inbox/id/AAQkADg2YzhlNDNjLTdhNTEtNDZkZS1iMTNmLTIxZTMxNTVmMWQ1ZAAQAMrqKsaE0slAjpeCl%2FvxqEc…   9/10
9/19/21, 3:24 PM      Case 1:22-cv-01092 Document 1-8           Filed Wilt
                                                        Mail - Nicholas 04/20/22
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                    be, a member of the D.C. Bar. In light of the foregoing, we respectfully
                    request that the Washington Nationals reconsider its decision to
                    terminate the employment of Mr. Gallo who, as you know, has been a
                    dedicated and valued employee of your organization for many years. Mr.
                    Gallo has strong legal grounds for both religious and medical exemptions
                    and he would prefer to continue his employment without having to bring
                    what is sure to be a high-profile and expensive lawsuit against the
                    Washington Nationals. Thank you, Ms. Philpott and Mr. Frost, for your
                    consideration and we look forward to your response.

                    Sincerely,

                    Charles S. LiMandri

                    ********************************
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